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                                   COURTROOM MINUTES
                               SENTENCING / JUDICIAL REVIEW

        11/19/2024
DATE: ____________             Tuesday
                      DAY: ______________                    12:35 pm
                                             START TIME: ______________                   1:20 pm
                                                                            END TIME: ______________
                  Peterson                          VOU                                 JD
JUDGE/MAG.: ___________________     CLERK: _____________________     REPORTER: ____________________
                         J. Pick
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
             24-cr-25-jdp-2
CASE NUMBER: _______________________                    Simmeka M. Tibbs
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
      William Levins
AUSA: ____________________________________                       Alexander Vlisides
                                                DEFENDANT ATTY.: ________________________________
      ____________________________________                           ________________________________
                                                DEFENDANT PRESENT:


SENTENCING GUIDELINE RANGE:
                               19
      TOTAL OFFENSE LEVEL: __________                                        I
                                             CRIMINAL HISTORY CATEGORY: __________
                                                 30
      ADVISORY GUIDELINE IMPRISONMENT RANGE: __________        37
                                                        to __________ MONTHS.


SENTENCE:
                1
COUNT(S) _______________:      INDICTMENT         INFORMATION
            1
CBOP CT. _______;      18
                     ______         4
                            MOS.; ______              100 CA; $ ___________ REST.; $ __________ FINE.
                                         YRS. S/R; $ ______
      CT. _______;   ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
                               1/7/2025
      VOLUNTARY SURRENDER: _______________            noon
                                           between __________       2:00 pm
                                                              and __________;
      RELEASE CONDITIONS CONTINUED.
      DETAINED.


ACTIONS:
      PLEA AGREEMENT ACCEPTED
      DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
      DEFENDANT ADVISED OF RIGHT TO APPEAL
      GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
      REVOKED


NOTES:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                            0.45"
                                                                       TOTAL COURT TIME: __________
